Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                72nd Avenue Property, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  4804 NW Bethany Blvd
                                  11740 SW 72nd Avenue                                            Suite I-2
                                  Tigard, OR 97223                                                Portland, OR 97229
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washington                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.the72nd.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                            Case 24-31211-pcm11                   Doc 1        Filed 04/30/24
Debtor    72nd Avenue Property, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                              Case 24-31211-pcm11                      Doc 1         Filed 04/30/24
Debtor    72nd Avenue Property, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                                                   Case 24-31211-pcm11                      Doc 1        Filed 04/30/24
Debtor   72nd Avenue Property, LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                           $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                          $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                        $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                     Case 24-31211-pcm11                 Doc 1       Filed 04/30/24
Debtor    72nd Avenue Property, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 29, 2024
                                                  MM / DD / YYYY


                             X /s/ Richard Cassinelli                                                     Richard Cassinelli
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Theodore J. Piteo                                                       Date April 29, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Theodore J. Piteo
                                 Printed name

                                 Michael D. O'Brien & Associates, P.C.
                                 Firm name

                                 12909 SW 68th Parkway, Suite 160
                                 Portland, OR 97223
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-786-3800                  Email address      enc@pdxlegal.com

                                 090311 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                           Case 24-31211-pcm11                      Doc 1        Filed 04/30/24
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Oregon
 In re       72nd Avenue Property, LLC                                                                        Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 38,262.00
             Prior to the filing of this statement I have received                                        $                 38,262.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 29, 2024                                                           /s/ Theodore J. Piteo
     Date                                                                     Theodore J. Piteo
                                                                              Signature of Attorney
                                                                              Michael D. O'Brien & Associates, P.C.
                                                                              12909 SW 68th Parkway, Suite 160
                                                                              Portland, OR 97223
                                                                              503-786-3800 Fax: 503-272-7796
                                                                              enc@pdxlegal.com
                                                                              Name of law firm




                                           Case 24-31211-pcm11                    Doc 1       Filed 04/30/24
Fill in this information to identify the case:

Debtor name         72nd Avenue Property, LLC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 29, 2024                  X /s/ Richard Cassinelli
                                                           Signature of individual signing on behalf of debtor

                                                            Richard Cassinelli
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                                          Case 24-31211-pcm11                      Doc 1         Filed 04/30/24
Fill in this information to identify the case:
Debtor name 72nd Avenue Property, LLC
United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                                  Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Hill Architects, P.C.                               11740 SW 72nd                                                                                             $420,000.00
c/o President Lloyd                                 Avenue, Tigard,
Hill                                                OR 97223 (The
1750 Blankenship                                    72nd)
Road, Suite 400                                     The subject
West Linn, OR                                       property is a
97068                                               five-story
                                                    mixed-use
                                                    building located
                                                    on a
                                                    25,634-square foot
                                                    site.
                                                    Ap
Commercial Center                                   Secured                                                                                                   $143,000.00
519 SW Park                                         Promissory Note
Avenue, Suite 217                                   Mortgage Broker
Portland, OR 97205                                  Fee
Capifi Funding                                      Misc Business                                                                                               $24,000.00
3323 NE 163rd                                       Debt
Street
Suite 401
North Miami Beach,
FL 33160
United First, LLC                                   Misc Business                                                                                               $19,000.00
c/o Manager Boris                                   Debt
Musheyev
29999 NE 191st
Street
Unit 901
Miami, FL 33180
City of Tigard                                      Utility Services                                                                                            $13,390.00
Utility Billing
13125 SW Hall Blvd
Tigard, OR 97223
Dunn Carney                                         Misc. Business                                                                                                $6,841.00
851 SW 6th Avenue,                                  Debt
Suite 1500
Portland, OR 97204

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                           Case 24-31211-pcm11                      Doc 1          Filed 04/30/24
Debtor     72nd Avenue Property, LLC                                                                Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Apartments, LLC                                     Misc. Business                                                                                                $3,078.00
1331 L Street, NW                                   Debt
Washington, DC
20005
Schindler Elevator                                  Misc. Business                                                                                                $2,057.00
Corporation                                         Debt
13122 Northeast
David Circle, #400
Portland, OR
97230-1706
PGE                                                 Utility Services                                                                                                $431.00
7895 SW Mohawk
Street
Tualatin, OR 97062
Jack's Overhead                                     Misc. Business                                                                                                  $395.00
Door, Inc.                                          Debt
PO Box 230368
Tigard, OR
97281-0368
Wave Broadband                                      Utility Services                                                                                                $208.00
Attn: Business
Solutions RE
Bankruptcy
3700 Monte Villa
Parkway
Bothell, WA 98021




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                           Case 24-31211-pcm11                      Doc 1          Filed 04/30/24
Fill in this information to identify the case:

Debtor name           72nd Avenue Property, LLC

United States Bankruptcy Court for the:                      DISTRICT OF OREGON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $       17,800,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $                382.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $       17,800,382.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       13,993,799.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           632,400.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $         14,626,199.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




                                                         Case 24-31211-pcm11                                        Doc 1              Filed 04/30/24
Fill in this information to identify the case:

Debtor name         72nd Avenue Property, LLC

United States Bankruptcy Court for the:      DISTRICT OF OREGON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   First Tech Federal Credit Union
          3.1.     Business (checking and savings)                   Business Checking                     3433                                         $84.00




          3.2.     Found Bank Account - Checking                     Business Checking                     0675                                       $298.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $382.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Misc security deposits from some tenants                                                                                         Unknown



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



                                            Case 24-31211-pcm11                Doc 1        Filed 04/30/24
Debtor       72nd Avenue Property, LLC                                                     Case number (If known)
             Name

          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                             $0.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                           0.00     -                                 0.00 = ....   Unknown
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                             $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                    page 2



                                           Case 24-31211-pcm11                     Doc 1    Filed 04/30/24
Debtor        72nd Avenue Property, LLC                                                   Case number (If known)
              Name



55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 11740 SW 72nd
                    Avenue, Tigard, OR
                    97223 (The 72nd)
                    The subject property
                    is a five-story
                    mixed-use building
                    located on a
                    25,634-square foot
                    site. Includes all
                    Fixtures, Furniture
                    and Equipment.
                    Appraisal dated
                    11/01/2022 at
                    $19,240,000
                    100 % ownership
                    (Current Value is
                    $17,890,000 Less
                    Absorption Cost of
                    $90,000 =
                    $17,800,000)                 Fee simple                  $19,240,000.00           Appraisal                     $17,800,000.00




56.        Total of Part 9.                                                                                                       $17,800,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Internet domain name www.the72nd.com                                         $0.00                                             Unknown




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 3



                                           Case 24-31211-pcm11                 Doc 1        Filed 04/30/24
Debtor        72nd Avenue Property, LLC                                                    Case number (If known)
              Name

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Pending insurance claims for damages sustained
           during January 2024 winter storm from frozen pipes                                                                         Unknown
           Nature of claim
           Amount requested                                      $0.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4



                                           Case 24-31211-pcm11                  Doc 1        Filed 04/30/24
Debtor     72nd Avenue Property, LLC                                  Case number (If known)
           Name


          No
          Yes




Official Form 206A/B                   Schedule A/B Assets - Real and Personal Property        page 5



                              Case 24-31211-pcm11             Doc 1     Filed 04/30/24
Debtor          72nd Avenue Property, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $382.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $17,800,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                   $382.00        + 91b.           $17,800,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $17,800,382.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6



                                                    Case 24-31211-pcm11                               Doc 1            Filed 04/30/24
Fill in this information to identify the case:

Debtor name         72nd Avenue Property, LLC

United States Bankruptcy Court for the:           DISTRICT OF OREGON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Avatar Portland
2.1                                                Describe debtor's property that is subject to a lien             $11,250,000.00            $17,800,000.00
      Commercial, LLC
      Creditor's Name                              11740 SW 72nd Avenue, Tigard, OR 97223
                                                   (The 72nd) [past due balance $169,220]
      c/o Manager TR Hazelrigg                     The subject property is a five-story mixed-use
      IV                                           building located on a 25,634-square foot site.
      1200 Westlake Avenue N,                      Appraisal dated 11/01/2022
      Suite 1006                                   100 % ownership
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien
                                                   First Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      V314
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Avatar Portland
      Commercial, LLC
      2. Parkview Financial REIT
      LP
      3. Precision Capital

      Corporation Service
2.2                                                                                                                              $0.00                    $0.00
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              3 UCC filings for secured creditors in 2023
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3




                                                 Case 24-31211-pcm11                      Doc 1        Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                                              Case number (if known)
            Name

      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.3   Parkview Financial REIT LP                   Describe debtor's property that is subject to a lien                 $1,575,000.00   $17,800,000.00
      Creditor's Name                              11740 SW 72nd Avenue, Tigard, OR 97223
                                                   (The 72nd) [past due balance $77,536]
                                                   The subject property is a five-story mixed-use
                                                   building located on a 25,634-square foot site.
      11440 San Vicente Blvd,                      Appraisal dated 11/01/2022
      2nd Floor                                    100 % ownership
      Los Angeles, CA 90049
      Creditor's mailing address                   Describe the lien
                                                   Second Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/22/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1162
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      Specified on line 2.1

2.4   Precision Capital                            Describe debtor's property that is subject to a lien                 $1,168,799.00   $17,800,000.00
      Creditor's Name                              11740 SW 72nd Avenue, Tigard, OR 97223
                                                   (The 72nd) [past due balance $37,068]
                                                   The subject property is a five-story mixed-use
      c/o RA Kevin Simrin                          building located on a 25,634-square foot site.
      4710 Village Plaza Loop,                     Appraisal dated 11/01/2022
      Suite 100                                    100 % ownership
      Eugene, OR 97401
      Creditor's mailing address                   Describe the lien
                                                   Third Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      221C
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3




                                                 Case 24-31211-pcm11                      Doc 1        Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                                          Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.
      Specified on line 2.1

                                                                                                                        $13,993,799.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       American Life and Security Corp
       c/o President Mike Minnich                                                                        Line   2.1
       2900 S 70th Street
       Unit 400
       Lincoln, NE 68506

       Attorney Julia Manela
       1203 Willamette                                                                                   Line   2.4
       Suite 200
       Eugene, OR 97401

       Corporation Service Company
       RA for Parkview Financial REIT, LP                                                                Line   2.3
       251 Little Falls Dr
       Wilmington, DE 19808

       Craig G. Russillo, Attorney
       Schwabe, Williamson & Wyatt, PC                                                                   Line   2.3
       1211 SW 5th Ave., Suite 1900
       Portland, OR 97204

       Pacwest Funding, Inc
       c/o President Kevin Simrin                                                                        Line   2.4
       4710 VILLAGE PLAZA LOOP
       STE 100
       Eugene, OR 97401

       The Corporation Trust Company
       RA for Avatar Portland Commerical, LLC                                                            Line   2.1
       1209 Orange St
       Wilmington, DE 19801




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3




                                                 Case 24-31211-pcm11                 Doc 1         Filed 04/30/24
Fill in this information to identify the case:

Debtor name        72nd Avenue Property, LLC

United States Bankruptcy Court for the:         DISTRICT OF OREGON

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          Bankruptcy Notices                                      Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary Notice
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Oregon Department Of Revenue                         Check all that apply.
          Bankruptcy Notice Dept.                                 Contingent
          955 Center Street, NE                                   Unliquidated
          Salem, OR 97301-2555                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary Notice
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
                                                                                                               49258



                                             Case 24-31211-pcm11                            Doc 1              Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                                       Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,078.00
         Apartments, LLC                                              Contingent
         1331 L Street, NW                                            Unliquidated
         Washington, DC 20005                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number 8101
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,000.00
         Capifi Funding                                               Contingent
         3323 NE 163rd Street                                         Unliquidated
         Suite 401                                                    Disputed
         North Miami Beach, FL 33160
                                                                   Basis for the claim: Misc Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,390.00
         City of Tigard                                               Contingent
         Utility Billing                                              Unliquidated
         13125 SW Hall Blvd                                           Disputed
         Tigard, OR 97223
                                                                   Basis for the claim: Utility Services
         Date(s) debt was incurred
         Last 4 digits of account number 5075                      Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Cobalt Properties Group
         Crickett Bittner                                             Contingent
         Portland Portfolio Manager                                   Unliquidated
         376 SW Bluff Drive, Suite 8                                  Disputed
         Bend, OR 97702
                                                                   Basis for the claim: Precautionary Notice
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Cobalt Properties Management Group, Inc.                     Contingent
         c/o Gene D. Buccola                                          Unliquidated
         333 SW Upper Terrace Drive                                   Disputed
         Bend, OR 97702
                                                                   Basis for the claim: Precautionary Notice
         Date(s) debt was incurred 11/30/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $143,000.00
         Commercial Center                                            Contingent
         519 SW Park Avenue, Suite 217                                Unliquidated
         Portland, OR 97205                                           Disputed
         Date(s) debt was incurred 2/15/2023
                                                                   Basis for the claim: Secured Promissory Note
         Last 4 digits of account number                           Mortgage Broker Fee
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,841.00
         Dunn Carney                                                  Contingent
         851 SW 6th Avenue, Suite 1500                                Unliquidated
         Portland, OR 97204                                           Disputed
         Date(s) debt was incurred 1/31/2024
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number V015
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 5




                                           Case 24-31211-pcm11                   Doc 1          Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                                       Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $420,000.00
         Hill Architects, P.C.                                        Contingent
         c/o President Lloyd Hill                                     Unliquidated
         1750 Blankenship Road, Suite 400                             Disputed
         West Linn, OR 97068
                                                                   Basis for the claim: 11740 SW 72nd Avenue, Tigard, OR 97223 (The
         Date(s) debt was incurred
                                                                   72nd)
         Last 4 digits of account number                           The subject property is a five-story mixed-use building located on a
                                                                   25,634-square foot site.
                                                                   Appraisal dated 11/01/2022 at $19,240,000
                                                                   100 % ownership
                                                                   (Current Value is $17,890,000 L
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $395.00
         Jack's Overhead Door, Inc.                                   Contingent
         PO Box 230368                                                Unliquidated
         Tigard, OR 97281-0368                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number 6411
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $431.00
         PGE                                                          Contingent
         7895 SW Mohawk Street                                        Unliquidated
         Tualatin, OR 97062                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Services
         Last 4 digits of account number 1328
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,057.00
         Schindler Elevator Corporation                               Contingent
         13122 Northeast David Circle, #400                           Unliquidated
         Portland, OR 97230-1706                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number 7568
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Tualatin Valley Water District                               Contingent
         Bankruptcy Notices                                           Unliquidated
         1850 SW 170th Avenue                                         Disputed
         Beaverton, OR 97003-4211
                                                                   Basis for the claim: Precautionary Notice
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $19,000.00
         United First, LLC
         c/o Manager Boris Musheyev                                   Contingent
         29999 NE 191st Street                                        Unliquidated
         Unit 901                                                     Disputed
         Miami, FL 33180
                                                                   Basis for the claim: Misc Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 5




                                           Case 24-31211-pcm11                   Doc 1          Filed 04/30/24
Debtor       72nd Avenue Property, LLC                                                              Case number (if known)
             Name

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $208.00
          Wave Broadband                                                       Contingent
          Attn: Business Solutions RE Bankruptcy                               Unliquidated
          3700 Monte Villa Parkway                                             Disputed
          Bothell, WA 98021
                                                                           Basis for the claim: Utility Services
          Date(s) debt was incurred
          Last 4 digits of account number 2601                             Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Capifi Funding
          c/o GMFunding and agent Vladimir Joseph                                                   Line     3.2
          150 Trumbull St.
                                                                                                           Not listed. Explain
          3rd Fl
          Hartford, CT 06103

4.2       Ellen F. Rosenblum, Attorney General
          100 Justice Building                                                                      Line     2.2
          1162 Court St. NE
                                                                                                           Not listed. Explain
          Salem, OR 97310

4.3       I.C. Systems, Inc
          PO Box 64378                                                                              Line     3.14
          444 Hwy 96 East
                                                                                                           Not listed. Explain
          Saint Paul, MN 55164-0378

4.4       Juan C. Zorrilla, Esq - Registered Agent
          1395 Brickell Ave                                                                         Line     3.13
          14th Fl
                                                                                                           Not listed. Explain
          Miami, FL 33131

4.5       McEwen Gisvold, LLP
          1100 SW 6th Ave., #1600                                                                   Line     3.8
          Portland, OR 97204
                                                                                                           Not listed. Explain

4.6       US Attorney General
          Attn: Merrick Garland                                                                     Line     2.1
          950 Pennsylvania Avenue, NW
                                                                                                           Not listed. Explain
          Washington, DC 20530-0001

4.7       US Attorney Oregon
          c/o Civil Process Clerk                                                                   Line     2.1
          1000 SW Third Ave
                                                                                                           Not listed. Explain
          Suite 600
          Portland, OR 97204


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                     632,400.00



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5




                                             Case 24-31211-pcm11                          Doc 1         Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                       Case number (if known)
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                       5c.     $              632,400.00




Official Form 206 E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                         Page 5 of 5




                                 Case 24-31211-pcm11              Doc 1        Filed 04/30/24
Fill in this information to identify the case:

Debtor name       72nd Avenue Property, LLC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Fire protection contract
           lease is for and the nature of        - Assume
           the debtor's interest

               State the term remaining          Annual
                                                                                    Delta Fire
           List the contract number of any                                          14795 SW 72nd Ave
                 government contract                                                Portland, OR 97224


2.2.       State what the contract or            Various lengths of
           lease is for and the nature of        tenancy in building.
           the debtor's interest                 Manager currently does
                                                 not possess a list since
                                                 receiver was appointed
                                                 - Assume these leases
               State the term remaining

           List the contract number of any                                          Misc Parties Rental Leases
                 government contract


2.3.       State what the contract or            Elevator Contract -
           lease is for and the nature of        Assume
           the debtor's interest

               State the term remaining          Annual
                                                                                    Schindler Elevator Corporation
           List the contract number of any                                          13122 Northeast David Circle, #400
                 government contract                                                Portland, OR 97230-1706




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




                                          Case 24-31211-pcm11                    Doc 1        Filed 04/30/24
Fill in this information to identify the case:

Debtor name      72nd Avenue Property, LLC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Avatar Portland             c/o Manager TR Hazelrigg IV                               Richard Cassinelli                 D
          Commercial, LLC             1200 Westlake Avenue N, Suite 1006                                                           E/F
                                      Seattle, WA 98109                                                                            G




   2.2    Hill Architects,            c/o President Lloyd Hill                                  Richard Cassinelli                 D
          P.C.                        1750 Blankenship Road, Suite 400                                                             E/F
                                      West Linn, OR 97068                                                                          G




   2.3    Parkview                    11440 San Vicente Blvd, 2nd Floor                         Richard Cassinelli                 D
          Financial REIT              Los Angeles, CA 90049                                                                        E/F
          LP                                                                                                                       G




   2.4    Precision Capital           c/o RA Kevin Simrin                                       Richard Cassinelli                 D
                                      4710 Village Plaza Loop, Suite 100                                                           E/F
                                      Eugene, OR 97401                                                                             G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



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Debtor    72nd Avenue Property, LLC                                               Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     United First, LLC        2999 NE 191st Street                                Richard Cassinelli                 D
                                   Unit 901                                                                               E/F
                                   Miami, FL 33180                                                                        G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2



                                    Case 24-31211-pcm11                Doc 1      Filed 04/30/24
Fill in this information to identify the case:

Debtor name         72nd Avenue Property, LLC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $180,000.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $870,714.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $993,679.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




                                          Case 24-31211-pcm11                    Doc 1        Filed 04/30/24
Debtor       72nd Avenue Property, LLC                                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Confession of Judgment                    Breach of                   Washington County Circuit                     Pending
             Pacwest Funding , Inc, dba                Contract                    Court                                         On appeal
             Precision Capital vs 72nd                                             150 NE 1st Avenue
                                                                                                                                 Concluded
             Avenue Property, LLC                                                  Hillsboro, OR 97124
             24CV03452

      7.2.   Hill Architects v. 72nd Avenue            Debt collection             Multnomah County Circuit                      Pending
             Property, LLC                                                         Court                                         On appeal
             24CV03767                                                             1200 SW 1st Ave
                                                                                                                                 Concluded
                                                                                   Portland, OR 97204

      7.3.   Parkview Financial REIT LP v.             Appoint a                   Multnomah County Circuit                      Pending
             72nd Avenue Property, LLC                 Receiver                    Court                                         On appeal
             23CV46660                                                             1200 SW 1st Ave
                                                                                                                                 Concluded
                                                                                   Portland, OR 97204


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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Debtor        72nd Avenue Property, LLC                                                          Case number (if known)



          None

      Custodian's name and Address                    Describe the property                                                      Value
      Cobalt Properties Management                    Appointed Receiver of 11740 SW 72nd Avenue,
                                                      Tigard, OR 97223                                                                               $0.00
      Group, Inc.
      c/o Gene D. Buccola
                                                      Case title                                                                 Court name and address
      333 SW Upper Terrace Drive
                                                                                                                                 Multnomah County
      Bend, OR 97702                                  Case number                                                                Circuit Court
                                                      23CV46660
                                                      Date of order or assignment
                                                      11/28/2023


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Winter Freeze, water damage to 8                Unknown in Thousands - Insurance                           January 18,                    Unknown
      units                                           Claims Pending                                             2024


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                        value
               Address
      11.1.    Michael D. O'Brien, &
               Associates, P.C.
               12909 SW 68th Parkway,
               Suite 160                                                                                              Prior to
               Portland, OR 97223                                                                                     filing                   $38,262.00

               Email or website address


               Who made the payment, if not debtor?
               Managing Member



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3




                                         Case 24-31211-pcm11                      Doc 1         Filed 04/30/24
Debtor      72nd Avenue Property, LLC                                                            Case number (if known)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




                                          Case 24-31211-pcm11                      Doc 1        Filed 04/30/24
Debtor        72nd Avenue Property, LLC                                                          Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    First Tech Federal Credit                XXXX-                         Checking                 Closed an                                  $0.00
               Union                                                                  Savings
                                                                                                               Account and
               Bankruptcy Notice                                                                               opened new
                                                                                      Money Market
               PO Box 2100                                                                                     account
                                                                                      Brokerage
               Beaverton, OR 97075                                                                             following a
                                                                                      Other                    security breach -
                                                                                                               11/14/2023


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5




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Debtor      72nd Avenue Property, LLC                                                           Case number (if known)




           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Perkins & Company Accountants                                                                                      2020 - current
                    1211 SW Fifth Ave., #1000
                    Portland, OR 97204

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Gene Buccola - Receiver
                    333 SW Upper Terrace Drive
                    Bend, OR 97702

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6




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Debtor      72nd Avenue Property, LLC                                                          Case number (if known)




             None

      Name and address
      26d.1.        Avatar Portland Commercial, LLC
                    c/o Manager TR Hazelrigg IV
                    1200 Westlake Avenue N, Suite 1006
                    Seattle, WA 98109

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Richard Cassinelli                     4804 NW Bethany Boulevard, # I - 2                  Managing Member                         100%
                                             Portland, OR 97229



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient          Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7




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Debtor      72nd Avenue Property, LLC                                                           Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 29, 2024

/s/ Richard Cassinelli                                          Richard Cassinelli
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8




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                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re    72nd Avenue Property, LLC                                                                               Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Richard Cassinelli                                                                100%                                       Membership Units
4804 NW Bethany Boulevard, # I - 2
Portland, OR 97229


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date April 29, 2024                                                      Signature /s/ Richard Cassinelli
                                                                                        Richard Cassinelli

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




                                          Case 24-31211-pcm11                       Doc 1         Filed 04/30/24
                                          United States Bankruptcy Court
                                                     District of Oregon
 In re   72nd Avenue Property, LLC                                                       Case No.
                                                              Debtor(s)                  Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 72nd Avenue Property, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 29, 2024                                   /s/ Theodore J. Piteo
Date                                             Theodore J. Piteo
                                                 Signature of Attorney or Litigant
                                                 Counsel for 72nd Avenue Property, LLC
                                                 Michael D. O'Brien & Associates, P.C.
                                                 12909 SW 68th Parkway, Suite 160
                                                 Portland, OR 97223
                                                 503-786-3800 Fax:503-272-7796
                                                 enc@pdxlegal.com




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